Case 1:03-cv-01097-.]DT-STA Document 135 Filed 07/08/05 Page 1 of 11 Page|D 170

l,~.
/“,// ’

IN THE UNITED sTATEs DIsTRICT COURT @5`/!,/ x an
FOR THE WESTERN DIsTRICT 0F TENNESSEE vi " e.

 

EASTERN DIVISION
DAN E. LONG, )
Plaintiff, §
v. § NO. 03-1097 T/An
THE PROCTER & GAMBLE §
MANUFACTURING CO., )
Defendant. §

 

ORDER GRANTING IN PART ANI) DENYING IN PART
DEFENDANT’S RENEWED MOTION TO STRIKE

 

Bef`ore the Court is Def`endant’s Renewed Motion to Strike the Affidavits of Willie
Carney, Reginald Char]es, and Tony Lusby filed in Opposition to Defendant’s Motion for
Surnrnary Judgment filed on April 19, 2005 . United States District Judge J ames D. Todd
referred this matter to the Magistrate Judge for determination For the reasons set forth below,
the Motion is GRANTED in part and DENIED in part.

MM)JM

Def`endant filed a Motion for Sumrnary Judgment with the Court on August 9, 2004, and
Plaintiff responded to Defendant’s Motion for Sunnnary Judgrnent on December 16, 2004.
Plaintiff attached the affidavits of Tony Lusby (“Lusb)f’), Willie Carney (“Camey”), and
Reginald Charles (“Charles”) to its Opposition to Defendant’s Motion for Sumrnary Judgrnent.
Defendant first filed a Motion to Stn`ke these affidavits With the Court on Deeernher 21, 2004,

but the Court ruled that it was premature to consider striking the affidavits Rather, the Court

Thls document entered on the docket sheet ln compliance
with Rule 58 and.'or_79 (a) FHCP on " ~

Case 1:03-cv-01097-.]DT-STA Document 135 Filed 07/08/05 Page 2 of 11 Page|D 171

permitted Defendant additional time to depose Lusby, Carney, and Charles, and allowed
Defendant to re-file the motion to strike, if needed.

After conducting the depositions, Defendant re-fi]ed its Motion to Strike and requests that
the Court strike the affidavits of Lusby, Carney and Charles because (l) the affiants failed to base
their affidavits on personal knowledge, (2) the affidavits conflict with the witnesses’ deposition
testimony, and (3) a portion of Mr. Lusby’s affidavit is irrelevant and is overly prejudicial to
Defendant. Plaintiff responded to the Renewed Motion to Strike and has argued that the
affidavits are, in fact, based on personal knowledge, are not contradicted by deposition testimony,
and contain information that is relevant to these proceedings.

ANALYSIS
I. Legal Standard

The Federal Rules of Civil Procedure allow a party to attach exhibits to a motion for
summary judgment or to a response to a motion for summary judgment In particular, Rule 56(e)
requires that “[s]upporting and opposing affidavits shall be made on personal knowledge, shall
set forth such facts as would be admissible in evidence, and shall show affirmatively that the
affiant is competent to testify to the matters stated therein.” Fed. R. Civ. P. 56(e). These three
requirements are mandatory. See Charles A. Wright et al., F ederal Pmctt`ce & Procedure § 2738
(2d ed. 1983). Affidavits that do not satisfy the requirements of Rule 56(e) are subject to
motions to strike. See Reddy v. Good Samarl`tan Hosp. & Health Ctr'., 137 F. Supp. 2d 948, 954
(S.D. Ohio 2000).

First, the Court should ensure that each affidavit is based on personal knowledge lt is the

burden of the party submitting the affidavit to show circumstances indicating the witness has

Case 1:O3-cv-01097-.]DT-STA Document 135 Filed 07/08/05 Page 3 of 11 Page|D 172

based the statement on personal knowledge See Schneider v. Uni`ted States, 257 F. Supp. 2d
1154, 1158 (S.D. lnd. 2003). Affidavits not based upon personal knowledge should be stricken.
Second, “all materials submitted in support or in opposition to a motion for summary judgment
must set forth facts that Would be admissible at trial.” Fiordafisi v. Zubek, 342 F. Supp. 2d 737,
741 (N.D. Ohio 2004). ln other words, the affidavits “must concern facts as opposed to
conclusions, assumptions, or sunnise.” Perez v. Volvo Car Corp., 247 F.3d 303, 316 (l. st cir.
2001) (citing Stagman v. Ryan, 176 F.3d 986, 995 (7th Cir 1999)). “While the line between facts
and non-facts often seems blurry, courts nonetheless must strive to plot it.” Id. Courts should be
specific in deciding which provisions of an affidavit are not appropriate, and the Court should
strike only those exact provisions which are not appropriate See id. at 315 (noting that applying
Rule 56 “requires a scalpel, not a butcher knife”).

When looking at a motion to strike, “[c]redibility determinations the weighing of the
evidence, and the drawing of legitimate inferences from the facts are jury functions, not those of
a judge, whether he is ruling on a motion for summary judgment or for a directed verdict.”
Anderson v. Lz'berty Lobby, Inc., 477 U.S. 242, 255 (1986). Therefore, the Court should not
strike an affidavit merely because it raises some concerns of the credibility of a witness

II. The Affidavits
A. Affidavit of Tony Lusby

Using a scalpel, not a butcher knife, the Court concludes that a portion of paragraph 9 of
Lusby’s affidavit should be stricken Specifically, paragraph 9 states that “[t]hereafter, Mr.
Yeager signed the inspection log sheet and reported that all devices due for inspection that month

were 100% complete; however, Don E]lis did not actually perform the safety checks.” (Aff. of

Case 1:O3-cv-01097-.]DT-STA Document 135 Filed 07/08/05 Page 4 of 11 Page|D 173

rl`ony Lusby, at 2). Lusby fails to state how he came to know that Yeager signed the inspection
sheet after Ellis allegedly failed to perform the safety checks. Although Ellis and Lusby worked
in the same module, the Court needs more information that specifically shows that Lusby has
personal knowledge that Ellis did not perform the safety checks. Moreover, paragraph 9
continues that “Mr. Yeager’s report was false;” however, Lusby does not explain how he knows
Yeager’s report was false. (Id. at 2). Lusby offers nothing from which the Court can conclude
that he had personal knowledge that the report was in fact false. Lusby then concludes that “Mr.
Yeager was required to base his report on the individual inspection sheets completed by each
inspection He did not do so in creating this report.” (Id_). This conclusory statement is
premised on the previous statements which lack any personal knowledge basis. Therefore,
because these portions of paragraph 9 are not based upon personal knowledge, they should be
stricken.

Paragraph 10 states that “Procter & Gamble did not discipline Mr. Yeager for the false
report.” (Ia'.). Again, Lusby offers nothing from which the Court could conclude that he had
personal knowledge about disciplinary action, if any, that Procter & Gamble may have taken
against Yeager. As such, this statement should also be stricken.

Paragraph 12 should also be stricken from Lusby’s affidavit Paragraph 12 states that
“[a]t least sixteen African-American technicians filed charges of discrimination with the Equal
Employment Opportunity Cornmission against Procter & Gamble between 1999 and 2001 .”
(]d.). From 1999 to 2001, Lusby was a Process Safety Engineer and a Technical Safety Program
Leader at Procter & Gamble. Although employed in these positions, Lusby provides the Court

with no information as to how he would have personal knowledge regarding EEOC charges filed

Case 1:O3-cv-01097-.]DT-STA Document 135 Filed 07/08/05 Page 5 of 11 Page|D 174

by African-American individuals against Procter & Gamble. Therefore, because Plaintiff has not
met his burden of establishing that his affidavit was made with personal knowledge, paragraph
12 should be stricken.
B. Affidavit of Willie Carnev

Several statements within Willie Camey’s affidavit should be stricken. The Court should
strike all of paragraph 4, which states that “Procter & Gamble did not customarily terminate
white employees who allegedly falsified logs.” (Aff. of Willie Camey, at l). Paragraph 4 is a
conclusory statement, and as previously mentioned, affidavits “must concern facts as opposed to
conclusions, assumptions, or sunnise.” Perez, 247 F.3d at 316.

fn paragraph 5, the Court should strike the sentence that states “[t]he fire was caused
because Ms. Legions did not follow the shut down checklist.” (]a'.). This is a conclusory
statement, and while Carney may have worked on an adjacent line to Ms. Legions, he does not
necessarily have the personal knowledge needed to state what caused a fire. Camey fails to state
in his affidavit that he was actually present when the fire started, and Camey fails to list any other
specifics about when and how the fire occurred. Simply stating that the fire was Ms. Legions’
fault and stating his opinion as to what caused the fire is not sufficient

Also in paragraph 5, the Court should strike the sentence that states “Ms. Legions signed-
off, thereby indicating she had performed the steps on the checklist, by initialing the log,
although she had apparently riot done so.” (Id. at 2) (emphasis added). As emphasized in this
sentence, Camey states that Ms. Legions had “apparently” not performed the steps on the
checklist. “Apparently” equates to speculation; therefore, because speculative statements should

not be included in affidavits, this sentence should be stricken.

Case 1:O3-cv-01097-.]DT-STA Document 135 Filed 07/08/05 Page 6 of 11 Page|D 175

The Court should finally strike the following contained in paragraph 5: “There was no
problem with the processor that day. If Ms. Legions had followed each step, the fire would not
have started if Ms. Legions had cleared out all the chips.” (Id.). Camey does not state how he
knew there was not a problem with the processor on the day in question, or even state the exact
date when this incident occurred. (See id. at l) (stating that the incident occurred “[i]n or about
2000"). Without more, general statements that the fire would not have occurred is not based on
personal knowledge Therefore, these sentences should be stricken.

The Court should strike all of paragraph 6 in Carney’s affidavit This paragraph reads
that

Upon my knowledge information and belz`ef, Ms. Legions was not disciplined for

this conduct. More often that not, when a technician was advanced in the

Compatibility Systern, Procter & Gamble’s disciplinary system, there was much

talk about it around the plant. Additional]y, the team manager usually held a

meeting with team members to discuss the appropriate level of discipline
(Id. at 3) (emphasis added). Statements “made on information and belief do not satisfy the
requirements ofFed. R. Civ. P. 56(e).” Hilliard v. Scully, 537 F. Supp. 1084, 1090 n.21
(S.D.N.Y. 1982). Therefore, the Court should strike Paragraph 6.

The Court Should also strike the portion of paragraph 7 that states: “ln or about November
or December 2000, Ms. Legions, then a Tv3, caused another fire in the processor. l was also at
work that day. Again, Ms. Legions failed to remove all chips in the processor; however, she
signed the log indicating that she had removed all burnt chips from the upper-blow basket.”
(Aff. of Willie Camey, at 3). Similar to his statements in paragraph 5, Camey has provided the

Court with no indication as to how he is qualified to state what caused the fire The fact he “was

at work that day,” without more, is of little value to the Court. Camey also does not state how he

Case 1:O3-cv-01097-.]DT-STA Document 135 Filed 07/08/05 Page 7 of 11 Page|D 176

knows Ms. Legions did not remove the burnt chips or that he personally saw Ms. Legions sign
the log. For these reasons, this portion of paragraph 7 contains conclusory accusations not based
upon personal knowledge, so this portion should be stricken.

Finally, paragraph 8 reads that “[a]s far as Iknow, Ms. Legions was not placed in the
disciplinary system for this fire.” (]d. at 2). “As far as l know” equates entirely to speculation,
so all of paragraph 8 should be stricken.

C. Affidavit of Reginald Charles

Likewise, several statements in the Reginald Charles affidavit should be stricken ln
paragraph 3 of the affidavit, Charles states that “[i]n 2001, Don Walls, [a] white male technician,
signed off on a raw materials quality control log indicating that he had verified that all the correct
ingredients and percentage of ingredients had been entered into the recipe.” (Aff. of Reginald
Charles, at l). Charles, however, fails to state how he obtained this information Charles does
not state that he witnessed Walls sign off on the control log, and he does not state how he was
even aware that Wal]s verified that the correct ingredients were entered into the recipe
Therefore, this sentence should be stricken.

Also in paragraph 3, Charles states that “Mr. Walls had in fact misfonnulated the dough.”
(Aff. of Reginald Charles, at l). This statement, however, is entirely conclusory, so it should be
stricken from the affidavit Charles gives no basis for the statement that Walls misformulated the
dough. Therefore, because an affidavit “must concern facts as opposed to conclusions,
assumptions, or surrnise,” Perez, 247 F.3d at 316, this sentence should be stricken.

Paragraph 5 of the Charles affidavit states that “Don Walls also signed a raw material log

indicating that he had entered the correct recipe.” (Aff. of Reginald Charles, at 2). Similar to his

Case 1:O3-cv-01097-.]DT-STA Document 135 Filed 07/08/05 Page 8 of 11 Page|D 177

statements in paragraph 3, Charles does not explain how he has personal knowledge that Walls
signed the raw material log. Charles yet again fails to state he Was responsible for overseeing the
log, or that he witnessed Walls sign the log, As such, because Plaintiff has not met its burden of
establishing the sentence was based on personal knowledge, this portion of paragraph 5 should be
stricken.

Paragraph 6 of the Charles affidavit states that “[s]everal shifts later, another technician
discovered that, contrary to the log, Walls had not mixed the proper ingredients Under P&G
rules of practice, this was falsification of company documents.” (Ia’. at 2). Charles does not
identify the other technician and does not explain the conclusion that Walls had not mixed the
proper ingredients Without more, there is nothing to indicate that Charles has personal
knowledge regarding the statements, and they should therefore be stricken.

Finally, paragraph 7 states that “Defendant did not terminate Walls for claiming that he
had performed checks or performed quality control procedures that he did not perform. lnstead,
Defendant advanced Walls to Step 2 of the compatibility system.” (]d.). There is nothing to
indicate Charles has any personal knowledge as to the reasons behind any action taken
concerning Walls. Since there is no indication that Charles was involved in, or had any personal
knowledge regarding personnel matters, these statements are also speculative and should be
stricken.

MBIO_N

For the reasons set forth above, the Renewed Motion to Strike is GRANTED in part and

DENIED in part. The Court should strike the provisions of the three affidavits which are not

based on personal knowledge or which are conclusory or speculative The remaining portions of

Case 1:O3-cv-01097-.]DT-STA Document 135 Filed 07/08/05 Page 9 of 11 Page|D 178

the affidavits should be considered by the Court when ruling on Defendant’s Motion for
Summary .ludgment.

Pursuant to the Order of Reference, any objections to this Order shall be made in writing
within ten days after service of this Order and shall set forth with particularity those portions of

the Order objected to and the reasons for those objections

<s,”nn.m @ta.)

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

IT IS SO ORDERED.

Date: %101_ DF_ 2005
(/ ' '

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 135 in
case 1:03-CV-01097 was distributed by fax, mail, or direct printing on
.luly 11, 2005 to the parties listed.

 

Dan E. Long
188 Skyridge Dr.
.lackson7 TN 38305

Stephen D. Wakefield

WYATT TARRANT & COl\/IBS
P.O. Box 775000

l\/lemphis7 TN 38177--500

.l ames J. Swartz

ASHE RAFUSE & HILL LLP
1355 Peachtree St., N.E.

Ste. 500

Atlanta, GA 30309--323

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Venita Marie Martin
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

l\/lemphis7 TN 38103

Cynthia G. Burnside
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Case 1:O3-cv-01097-.]DT-STA Document 135 Filed O7/O8/O5 Page 11 of 11 Page|D 180

R. Lawrence Ashe
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Honorable .l ames Todd
US DISTRICT COURT

